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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

 CHANTAL SAUCIER, ET AL.                         CIVIL ACTION NO. 6:20-cv-01197

 VERSUS                                          JUDGE SUMMERHAYS

 CHUCKWUDI UCHENDU, M.D.,                        MAGISTRATE JUDGE HANNA
 ET AL.

                                      JUDGMENT

       This matter was referred to United States Magistrate Judge Patrick J. Hanna for

 report and recommendation. After an independent review of the record, and noting the

 absence of any objections, this Court concludes that the Magistrate Judge’s report and

 recommendation is correct and adopts the findings and conclusions therein as its own.

 Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that summary judgment is

 entered in favor of Dr. Hutchinson on the issue of her status as a qualified health care

 provider at material times; and

       IT IS ORDERED, ADJUDGED, AND DECREED that Dr. Hutchinson’s motion to

 dismiss for failure to state a claim (Rec. Doc. 22) is GRANTED, and the claims asserted

 against her are dismissed without prejudice as premature, consistent with the report and

 recommendation.

       Signed at Lafayette, Louisiana, this 8th day of June, 2021.


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                                          ROBERT R. SUMMERHAYS
                                          UNITED STATES DISTRICT JUDGE
